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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   District of
                                               __________      Massachusetts
                                                            District of __________

                  United States of America                        )
                             v.                                   )
              JUSTIN FREEMAN WATSON                               )      Case No. 19-6206-MPK
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 26 and November 17, 2018 in the county of                           Barnstable          in the
                       District of       Massachusetts        , the defendant(s) violated:

            Code Section                                                   Offense Description
Title 18 U.S.C. § 922(a)(6)                   Knowingly making false or fictitious oral or written statement, or furnishing
                                              any false or misrepresented identification, intended or likely to deceive a
                                              federally licensed firearm dealer.




         This criminal complaint is based on these facts:
See Attached Affidavit of ATF Special Agent Brian Higgins




         ✔ Continued on the attached sheet.
         ’


                                                                                             Complainant’s signature

                                                                                    Brian Higgins, Special Agent, ATF
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:        April 17, 2019
                                                                                                Judge’s signature
                                                                         Page Kelley, U.S.
City and state:                          Boston, MA                      Magistrate Judge
                                                                                              Printed name and title
